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                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF RHODE ISLAND


      DR. DAMIAN MEDICI,

                     Plaintiff

     v.                                                         Civil Action No. 1:17-cv-00265-M-PAS

      LIFESPAN CORPORATION,
      RHODE ISLAND HOSPITAL, and
      MICHAEL SUSIENKA,

                     Defendants.


                    DEFENDANTS’ REPLY IN FURTHER SUPPORT OF THEIR
                           MOTION FOR LETTERS ROGATORY

            Defendants Lifespan Corporation (“Lifespan”), Rhode Island Hospital (“RIH”) and

 Michael Susienka (“Susienka”) submit this reply brief in further support of their motion for the

 issuance of letters rogatory for the purpose of deposing Dr. Logan Walsh, a resident of Montreal,

 Canada.

            Plaintiff’s opposition to the motion is based entirely on the fact that Dr. Walsh was

 known to Defendants and that the motion was filed nine days after the close of discovery. While

 Defendants were surely aware of Dr. Walsh since the inception of the investigation that forms

 the basis for this litigation, it was not until Plaintiff served Defendants with an affidavit on

 Friday, May 4 – just ten days before the close of discovery –– that the need to depose Dr. Walsh

 became apparent. In that affidavit,1 Dr. Walsh states that in or around October 2015, Dr. Medici

 “provided data files representing the original experimental results” for experiments discussed in

 the Walsh Manuscript, which manuscript forms the basis for two of four allegations of research



 1
     Exhibit A to Declaration of Paul W. Shaw (ECF No. 67-3).

                                                          1
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 misconduct investigated by Lifespan and RIH. Defendants requested that plaintiff produce all

 data files relating to those experiments in its document requests to plaintiff, propounded eleven

 months ago. Although Plaintiff’s counsel represented that all responsive documents have been

 produced, Plaintiff testified on May 4, the same day the Walsh Affidavit was produced, that he

 could not recall if he had reviewed all potential locations for such files and that he could not

 confirm that all data files had in fact been produced. Dr. Walsh’s assertion that he was provided

 with data files makes his deposition critical.

            Contrary to Plaintiff’s assertion, Defendants’ decision to seek Dr. Walsh’s decision was

 not driven by Plaintiff’s service of its expert report. Indeed, Defendants’ counsel commencd its

 search for Canadian counsel to assist with the motion for letters rogatory on May 7, a week

 before Plaintiff served its expert report.

            Most significantly, Plaintiff will suffer no prejudice should one deposition be taken

 beyond the discovery deadline. The deposition will not require the extension of any other

 deadlines, and thus will not affect Plaintiff’s desire that this case “finally be adjudicated.”2

 Moreover, other discovery, including discovery sought by Plaintiff, remains outstanding. This

 discovery includes responses to subpoenas served on Brown University, Harvard University, and

 responses to document requests served by Defendants. With this discovery still outstanding, the

 taking of one additional deposition will not serve to “reopen” discovery or affect the speedy

 adjudication of this case.

            Finally, Plaintiff’s complaints regarding the cost of the deposition are irrelevant.

 Defendants are in their right to take properly noticed depositions wherever the witnesses may be




 2
     Significantly, it was Plaintiff, not Defendants, that sought an earlier extension of the discovery deadline.

                                                               2
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 found. Moreover, it is Plaintiff, not Defendants, that have driven the costs of depositions in this

 matter, taking seven depositions to Defendants have taken a single deposition to date.

           For these reasons, the Court should grant Defendants’ Motion and permit the deposition

 of Dr. Walsh to proceed.

  Dated:      May 31, 2018
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